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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                     No. 25-cv-22896-JEM


   FRIENDS OF THE EVERGLADES, INC., et al.

           Plaintiffs,

   v.

   KRISTI NOEM, et al.,

           Defendants.


                    DEFENDANT KEVIN GUTHRIE’S OMNIBUS
          RESPONSE TO PLAINTIFFS’ THREE SUPPLEMENTAL REPLY BRIEFS

         On July 3, 2025, Plaintiffs filed their reply. Doc. 24. Since then, Plaintiffs have filed three

  additional “Notices,” accompanied by exhibits going beyond what was included in their motion

  and reply. See Docs. 25, 26, 27. Those filings—made without leave of the Court—were improper.

  “[A]t some point, briefing must end,” Archdiocese of Milwaukee v. Underwriters at Lloyd’s,

  London, 955 F. Supp. 1066, 1070 (E.D. Wis. 1997), which is why the local rules require that “[a]ll

  materials in support of any motion, response, or reply, including affidavits and declarations, … be

  served with the filing,” S.D. Fla. R. 7.1(c)(1). There is, of course, a place for supplemental

  authority, S.D. Fla. R. 7.8; but “[s]upplemental filings should not raise issues for the first time that

  could have, with reasonable diligence, been raised before,” Girard v. Aztec RV Resort, Inc., 2011

  WL 4345443, at *3 (S.D. Fla. Sept. 16, 2011). Here, Plaintiffs offer no reason they could not have

  included the content of their “Notices” and exhibits in their briefing. Accordingly, the Court should

  disregard the Notices and direct Plaintiffs to cease filing additional briefs without leave of Court.

         Regardless, the Notices do not advance Plaintiffs’ cause. The Facebook post from

  Secretary Noem, for example, confirms Defendants’ position that there has been no final federal



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  funding decision. Secretary Noem said the project “will be funded largely” from FEMA’s Shelter

  and Services Program (“SSP”). Doc. 25-1 (emphasis added). That is an informal statement of

  future intent, not final agency action. Cf. Apter v. Dep’t of Health & Human Servs., 80 F.4th 579,

  595 (5th Cir. 2023) (social media post was not final agency action). And even if this Facebook

  post were final agency action, it would only confirm that NEPA does not apply. The SSP

  reimburses “non-Federal entities” for “sheltering and related activities … in support of relieving

  overcrowding in short-term holding facilities of U.S. Customs and Border Protection.” Further

  Consolidated Appropriations Act, 2024, Pub. L. 118-47, div. C, tit. II, 138 Stat. 460, 598 (Mar. 23,

  2024). The SSP does not convert those “non-Federal entities” into federal entities under NEPA—

  if it did, then the Roosevelt Hotel in New York would have become a federal project just because

  the Biden administration paid to house illegal aliens there. So, too, would Plaintiffs’ theory

  federalize the hundreds of state and local jails that house illegal immigrants under 287(g)

  agreements—apparently requiring each such local jail to comply with NEPA anytime a change to

  the facility is made.    Plaintiffs’ NEPA theory is boundless and would have the statute’s

  requirements follow every dollar of federal money into every nook and cranny of state and local

  government. No court has ever endorsed such an outlandish reading of the statute.

         Plaintiffs’ late-breaking photos also do not aid them. Docs. 26-1, 27-1. For one, the photos

  do nothing to address the central legal issue in the case: Plaintiffs complain about a state project

  on state land that already houses a state airfield, and thus NEPA law for federal projects does not

  apply. Mere “federal involvement in nonfederal decision-making” is not sufficient to trigger

  NEPA. United States v. S. Fla. Water Mgmt. Dist., 28 F.3d 1563, 1573 (11th Cir. 1994). After five

  filings, Plaintiffs still cannot overcome this point, and none of the cases Plaintiffs cite find NEPA

  applicable in a context remotely like this one. See Sw. Williamson Cnty. Cmty. Ass’n, Inc. v. Slater,




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  243 F.3d 270, 286 (6th Cir. 2001) (NEPA did not apply to a state highway corridor); Md.

  Conservation Council, Inc. v. Gilchrist, 808 F.2d 1039, 1042 (4th Cir. 1986) (applying NEPA to a

  highway project that required at least one, and possibly three, federal approvals for construction);

  Fath v. Tex. Dep’t of Transp., 2016 WL 7442868, at *1, *6-7 (W.D. Tex. Sept. 6, 2016) (NEPA

  applied when state agency “entered into a formal memorandum of understanding” to step into the

  shoes of a federal agency); Sierra Club v. U.S. Fish & Wildlife Serv., 235 F. Supp. 2d 1109, 1121

  (D. Or. 2002) (applying NEPA to a wildlife study that would be funded in large part by a federal

  agency); Bunch v. Hodel, 642 F. Supp. 363, 375 (W.D. Tenn. 1985) (NEPA required in light of “44

  years of continuous and exclusive federal water level management of Reelfoot Lake”).

         Nor do the photos advance Plaintiffs’ claims of irreparable harm. On the contrary, the

  photos confirm Defendants’ position that the project is taking place within the existing footprint

  of a working airfield. Indeed, the fact that Plaintiffs quibble with relatively minor paving projects

  significantly undercuts their claimed irreparable harm.         Plaintiffs’ photos do not reveal

  construction on pristine land; far from it, they show land that was largely lime rock, gravel, or

  existing dirt road within the footprint of the airfield. It is simply implausible that small-scale

  paving on previously developed land will cause irreparable environmental harm when the paving

  is next to a nearly two-mile-long paved runway.




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  Dated: July 11, 2025                                Respectfully submitted,

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                                                      capacity as Executive Director of the Florida
                                                      Division of Emergency Management




                                  CERTIFICATE OF SERVICE

         I hereby certify that on July 11, 2025, the foregoing was filed with the Clerk of Court using

  CM/ECF, which will serve a Notice of Electronic Filing on all counsel of record.

                                                      s/ Jesse Panuccio
                                                      Jesse Panuccio




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